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                             EXHIBIT "A"
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                                    SETTLEMENT AGREEMENT AND
                                        RELEASE OF CLAIMS


           This SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS (the "Agreement") is
    made and entered into as of this it     day of January, 2018, (the "Effective Date"), by and between
    Emily Fuller ("Plaintiff'), on the one hand, and American Honda Motor Co., Inc. ("Honda"), on the
    other hand. For the purposes of this Agreement, Plaintiff and Honda are each referred to individually
    as a "Party" and collectively as the "Parties."

                                                RECITALS

            A.      On August 29, 2017, Plaintiff commenced the action entitled Emily Fuller v, American
    Honda Motor Co., Inc., Case No. 1:17-cv-23267-RNS (the "Action"), in the United States District
    Court for the Southern District of Florida (the "District Court"), alleging claims under the Americans
    with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et seq. (the "ADA"), and for trespass against
    personal property, based upon the alleged failure by Honda to maintain the website
    http://shop.honda.com (the "Website") in a manner or condition that makes it accessible to individuals
    with disabilities.

           B.      Honda disputes all of the claims and allegations set forth in the Action and has denied
    and continues to deny that it has violated the ADA, committed any act of trespass, or violated any
    other law, that it has any liability to Plaintiff for any claims asserted as of the Effective Date or
    otherwise, and that Plaintiff is entitled to an injunction or any other form of relief against Honda based
    on any matter referenced in the Action or this Agreement.

             C.     Solely to avoid the risk, uncertainty, inconvenience, delay and expense of litigation, the
    Parties wish to fully and finally settle any and all claims asserted by Plaintiff, or that can be or could
    have been asserted by Plaintiff, under the ADA or under any other federal, state or local statute,
    regulation, rule or other law prohibiting discrimination on the basis of disability or concerning the
    accessibility of any public accommodations or business establishments to individuals with disabilities
    (collectively, the "Disability Access Laws"), as well as any and all claims relating to the Website, as
    set forth and under the terms in this Agreement.

                                              AGREEMENT

           NOW, THEREFORE, in consideration of the foregoing Recitals, the mutual promises,
    covenants, and undertakings contained in this Agreement, and for other good and valuable
    consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties, intending to
    be legally bound, hereby agree as follows:

    1,     Recitals

           The aforementioned Recitals are incorporated into this Agreement as if set forth fUlly herein.
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         2,     Settlement Consideration

                 A.     Within ten (10) days of (i) the full execution of this Agreement, and (ii) counsel for Honda
         (Ogletree, Dealdns, Nash, Smoak & Stewart, P.C., 701 Brickell Ave., Suite 1600, Miami, Florida 33131)
         receiving completed Forms W-9 from Plaintiff and her counsel, The Law Office of Pelayo Duran, P.A.
         ("Plaintiff s Counsel"), Honda shall pay to Plaintiff and Plaintiffs counsel the total sum set forth in a
         separate addendum by and between the Parties (the "Settlement Payment"), in the faun of a check made
         payable to Plaintiff, and a check made payable to Plaintiff's Counsel, "Law Office of Pelayo Duran,
         PA., Trust Account," The Settlement Payment addresses all claims which were raised, or should have
         been raised, or could have been raised in the Action and is inclusive of all Plaintiff's attorneys' fees,
         court costs, general releases, confidentiality clauses, associated expenses, and damage claims. The
         Settlement Payment shall be delivered to Plaintiff's Counsel located at 4640 NW 7 Street Miami, Florida
         33126.

                 B.       The Parties agree that Honda will issue a 1099-MISC form to Plaintiff and/or Plaintiff's
         Counsel as required by and in accordance with applicable law. The Parties further agree that Plaintiff
         and Plaintiff's Counsel shall be solely responsible for any and all federal, state and local taxes due on
         their respective portions of the Settlement Payment, and that Plaintiff and Plaintiff's Counsel each
         specifically agree to indemnify and hold Honda harmless for and from any and all claims involving
         federal, state or local taxes resulting from or relating to the Settlement Payment. The Parties and
         Plaintiffs Counsel further agree that Honda has had and shall have no involvement in or responsibility
         or liability for any allocation, handling, treatment or receipt of the Settlement Payment by or between
         Plaintiff and Plaintiffs Counsel,

                  C,    By June 18, 2019, Honda shall use good faith efforts to cause all portions of the Website
        that are covered by Title ITT of the ADA to substantially conform to the Web Content Accessibility
         Guidelines 2,0, Level A and Level AA Success Criteria (the "WCAG 2.0"), subject to feasibility and
        undue expense, Should the Department of Justice, Congress, the United States Supreme Court, or a
        United States Circuit Court issue any final regulations, statute, ruling, opinion, instruction or other
         official pronouncement (as applicable) establishing or setting forth a standard regarding accessibility of
         the Website that is different from the WCAG 2,0 or otherwise limits the coverage of Title III
        requirements regarding websites of public accommodations, Honda shall have the option of substantially
        complying with such standard or such limited requirements in its sole and absolute discretion.
        Notwithstanding the foregoing, Third-Party Content (as defined below) on the Website will not be
        required to confolin to the WCAG 2.0. (The term "Third-Party Content" refers to web content that is
        not developed or owned by Honda.) The Parties further agree that the Website may contain links to
        Third-Party Websites (as defined below), and Honda shall not be responsible or liable for the state of
        accessibility of such Third-Party Websites, (The term "Third-Party Websites" refers to websites that are
        not developed, owned or operated by Honda.) If the ability of Honda to meet the deadline for compliance
        within this Section 2(C) is delayed by third-party vendors, acts of God, force majeure or other reasons
        that are outside of the reasonable control of Honda, the Parties' respective counsel shall meet and confer
        for a period of not less than twenty-one (21) days regarding an extended deadline. lithe Parties cannot
        reach agreement regarding an extended deadline after such meet-and-confer process has concluded,
        either Party will have the right to seek judicial relief,




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         3,      Release of Claims and Dismissal of Action

                  A.      Upon execution of this Agreement, Plaintiff, on her own behalf, and on behalf of her
         respective agents, representatives, heirs, spouse, grantees, executors, administrators, devisees, trustees,
         successors, assigns, assignors, attorneys, and any other entities in which Plaintiff has an interest
         (collectively, the "Releasing Parties"), hereby agrees to release and forever discharge Honda and any
         and ail past and present shareholders, owners, principals, members, directors, officers, employees,
         agents, independent contractors, representatives, attorneys, accountants, advisors, consultants, insurers,
         receivers, partners, partnerships, joint venturers, joint ventures, parent corporations, subsidiaries,
         affiliates, assigns, successors, predecessors in interest, commonly-controlled corporations and any other
         individual or entity acting or purporting to act in concert with or on behalf of Honda with respect to the
         matters alleged in the Action or set forth in this Agreement (collectively, the "Released Parties") from
         any and all liabilities, causes of action, suits, actions, charges, complaints, obligations, losses, injuries,
         damages, rights, judgments, attorneys' fees, expenses, costs, penalties, fines, and all other legal
         responsibilities or claims of any kiln whatsoever, whether known or unknown, presently existing or
         arising in the future, suspected or unsuspected, or fixed or contingent, including those arising under any
         theory of law, whether common law, constitutional, statutory or other, of any jurisdiction, foreign or
         domestic, whether in law or in equity, which the Releasing Parties or any of them now have, ever had,
         or may claim to have against any of the Released Parties as of the Effective Date arising out of or relating
         to any of the following matters; (I) the Website; (ii) any of the matters alleged in the Action (including,
         without limitation, any claims, events, conditions or matters alleged in the Complaint in the Action); (iii)
         any violation of any of the Disability Access Laws based on any claims, events, conditions or other
         matters occurring prior to the Effective Date; or (iv) any costs, attorney& or expert fees, or expenses
         incurred or to be incurred by the Releasing Parties in connection with the Action or this Agreement
         (collectively, the "Released Claims"). Plaintiff, on behalf of herself and the Releasing Parties, hereby
         acknowledges and agrees that, except as expressly set forth in this Agreement, the Released Parties have
         no other liabilities or obligations, of any kind or nature, owed to the Releasing Parties, in connection
         with or relating to the Released Claims or otherwise.

                 B.     Plaintiff acknowledges that she may hereafter discover facts different from, or in addition
         to, those which she now believes to be true with respect to the Released Claims above, On her own
         behalf and on behalf of all of the Releasing Parties, Plaintiff agrees that the foregoing release and waiver
         shall be and remain effective in all respects notwithstanding such different or additional facts or
         discovery thereof, and that this Agreement contemplates the extinguishment of all such Released Claims.
         By executing this Agreement, Plaintiff acknowledges the following: (i) she is represented by counsel of
         her own choosing; (ii) she has read and fully understands the provisions of this Agreement; and (iii) she
         has been specifically advised by counsel of the consequences of the above release and this Agreement
         generally.

                 C.     Within two (2) business days after• the Parties have fully executed this Agreement and
        Honda has delivered the Settlement Payment to Plaintiff as required in Section 2(A) above, Honda shall
        file the Stipulation of Dismissal in the form attached as Exhibit "A" to this Agreement (the "Stipulation
        of Dismissal"), which provides that (I) the Action shall be dismissed with prejudice as to all claims
        alleged by Plaintiff, with the Court to retain jurisdiction over the Parties for the sole purpose and for only
        the time period necessary for implementation of the provisions of Section 2(C) above, and (ii) that each
        Party shall bear his or its own attorneys' fees and costs,

               D.     Plaintiff agrees not to sue or file a charge, complaint, grievance, demand, or other
        proceeding against any of the Released Parties in connection with the Released Claims in any forum or
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         assist or otherwise partioipate willingly or voluntarily in any claim, arbitration, suit, action, investigation
         or other proceeding of any kind which relates to any matter that involves the Released Claims or similar
         claims, unless it has complied with section 2(C) above requiring the parties to meet and confer for a
         period of not less than twenty-one (21) days regarding an extended deadline or if required to do so by
         court order, subpoena or other directive by a court, administrative agency, arbitration panel or legislative
         body, or unless to otherwise required to enforce this Agreement. To the extent any such claim,
         arbitration, suit, action, investigation or other proceeding may be brought by a third party, Plaintiff
         expressly waives any claim to any form of monetary or other damages sought by such third party, or any
         other form of recovery or relief in connection therewith, except for any statutorily required witness fees,

                 E,     In the event that after June 18, 2019, Plaintiff believes that any feature of or any means
         of accessing the Website constitutes a violation of the accessibility requirements of the ADA or any
         other Disability Access Laws, Plaintiff shall: (i) provide written notice to Honda of the claimed
         violation(s); and (ii) allow Honda sixty (60) days thereafter to cure such alleged violation(s), during
         which time the parties shall engage in good faith discussions regarding the claimed violation(s), The
         Parties agree that Plaintiffs "written notice" to Honda need only identify the alleged violation(s) (e.g,,
         describe the page, content or portion of the Website that Plaintiff is unable to 'access or navigate, or
         otherwise describe the problem that Plaintiff is having with the Website) and that no expert opinion or
         formal report is required. Any "written notice" shall not be deemed insufficient on the grounds that it
         does not contain an expert opinion or report, or that it does not describe the underlying software, coding,
         or other technical issue requiring expertise beyond a layperson's experience, Plaintiff may not institute
         any legal action or proceeding against Honda or any of the Released Parties based on any accessibility
         issues concerning the Website until (i) after June 18, 2019, and (ii) Plaintiff has complied fully with this
         Section 3(E),

         4.     Mutual Confidentiality

                A.      The Parties and their respective counsel expressly agree to keep the terms and existence
        of this Agreement, and all information, documents and things exchanged during settlement negotiations
        leading up to this Agreement (collectively, the "Confidential Information"), strictly confidential and
        shall not reveal any Confidential Information or the names of the Parties to this Agreement to any other
        person ox entity, except: (i) pursuant to judicial order or legal process; (ii) as is reasonably necessary to
        be disclosed to their respective spouse, accountants, tax advisors and attorneys (provided such recipients
        are notified of the confidentiality obligations required under this Section 4 and agree to ensure that
        Confidential Information is not disclosed in violation of the terms of this Agreement); (iii) in any dispute
        between any of the Parties or their counsel; (iv) as necessary to effectuate the terms of this Agreement;
        and (v) as necessary for Honda to prove, in response to any claims or complaints or any threatened claims
        or complaints concerning or relating to the Website, that Honda has committed to perform the
        remediation described in Section 2(C) above. The Parties and their respective counsel agree that if they
        are required by judicial order or legal process to disclose any Confidential Information to any individual
        or entity (other than the individuals or entities to whom disclosure is permitted in accordance with the
        preceding sentence), they will provide the non-disclosing Party with at least ten (10) business days'
        notice prior to the required disclosure so that it may seek an appropriate protective order or other
        appropriate relief,

                       The Parties and their respective counsel expressly acknowledge and agree that the
        confidentiality obligations set forth in this Section 4 are material to this Agreement. Furthermore, the
        Parties and their respective counsel expressly acknowledge and agree that the disclosure of Confidential
        Information as prohibited by this Section 4 would cause immediate and irreparable injury for which
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         money damages would be an inadequate remedy, and that injunctive relief, as provided for under
         applicable law or equity, without any requirement to post any bond or other security, in the event of any
         such violation would be proper. Injunctive relief will not be deemed the exclusive remedy for any such
         violation, but will be in addition to all other remedies available under applicable law or equity,

         5,     No Admission of Fault or Liability

                  It is expressly understood and agreed that this Agreement and the performance by any Party of
         its obligations herein, including the payment of the Settlement Payment by Honda, are for the purpose
         of compromising and resolving disputed claims, and that this Agreement shall not be offered, cited,
         deemed or construed in any way as an admission of liability, fault or wrongdoing by any Party, with
         liability, fault and wrongdoing being expressly denied by each Party,

         6,     Investigation

                 Bach of the Parties has made such investigation of the facts pertaining to this Agreement, as
         deemed necessary. The Parties understand that facts with respect to the matters covered by this
         Agreement might be found hereafter to be different from the facts now believed to be true, and each
         Party expressly accepts and assumes the risk of such possible additional or different facts and agrees that
         this Agreement shall be and remain effective notwithstanding such additional or different facts,
         7,     Integration Clause

               This Agreement contains the entire agreement of the Parties concerning the subject matter of this
        Agreement and supersedes any and all prior and contemporaneous written or oral representations,
        agreements, arrangements or understandings among them concerning such subject matter. There are no
        representations, agreements, arrangements or understandings, oral or written, among the Parties or
        counsel relating to the subject matter of this Agreement that are not fully expressed in this Agreement.

         8,     Consultation with Counsel

                The Parties represent and warrant that they have presented their respective counsel with this
        Agreement, that their respective counsel have had the opportunity to review this Agreement and that
        they are executing this Agreement of their own free will after having received advice from their
        respective counsel regarding this Agreement,

        9.      Governing Law

                This Agreement shall be governed by, interpreted and construed pursuant to the laws of the State
        of Florida, without giving effect to any conflicts of law principles,

        10.     Disputes and Enforcement

               The Parties agree that they will work cooperatively to resolve any issues, concerns, and/or
        disputes regarding the Parties' respective obligations under this Agreement,




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         11.     Severability

                 If any one or more of the provisions of this Agreement should be ruled wholly or partly invalid
         or unenforceable by a court or other government body of competent jurisdiction, then: (1) the validity
         and enforceability of all provisions of this Agreement not ruled to be invalid or unenforceable shall be
         unaffected; (ii) the effect of the ruling shall be limited to the jurisdiction of the court or other government
         body making the ruling; (iii) the provision(s) held wholly or partly invalid or unenforceable shall be
         deemed amended, and the court or other government body is authorized to reform the provision(s), to
         the minimum extent necessary to render them valid and enforceable in conformity with the Parties' intent
         as manifested herein; and (iv) if the ruling and/or the controlling principle of law or equity leading to the
         ruling is subsequently overruled, modified, or amended by legislative, judicial, or administrative action,
         then the provision(s) in question as originally set forth in this Agreement shall be deemed valid and
         enforceable to the maximum extent permitted by the new controlling principle of law or equity.

         12,     No Waiver

                The failure of any Party to insist upon compliance with any of the provisions of this Agreement
         or the waiver thereof, in any instance, shall not be deemed or construed as a waiver or relinquishment
         by such Party of such provision in any other instance or as a waiver or relinquishment by such Party of
         any other provision of this Agreement,

         13,    Modification and Amendment

              This Agreement may not be waived, altered, amended or repealed, in whole or in part, except
        upon written agreement executed by all Parties.

        14.     No Reliance

                 Each of the Parties represents and warrants that, except for the representations and warranties
        specifically set forth in this Agreement, in executing this Agreement, they do not rely, and have not
        relied, on any representation or statement made by any other Party to this Agreement, any representation
        or statement made by anyone acting on behalf of any Party to this Agreement, or any representation or
        statement made by any other person.

        15.     No Assignment or Transfer of Claims

                Plaintiff represents and warrants that: (1) she owns the Released Claims; (ii) no other person or
        entity has any interest in the Released Claims; (iii) she has not sold, assigned, conveyed or otherwise
        transferred any Released Claim or demand against Honda, or any Released Claim or demand against any
        of the other Released Parties; and (iv) she has the sole and exclusive right to settle and release such
        Released Claims, Plaintiff represents and warrants that to the best of her knowledge, information and
        belief, (i) she has no actual or potential claims against Honda and/or the Released Parties that are not
        included in the Released Claims and (ii) she has no knowledge of any pending, threatened or potential
        claims against Honda and/or the Released Parties. All of the terms and provisions of this Agreement
        shall be binding upon and shall inure to the benefit of the Parties and their respective heirs, successors
        and assigns,


        16,     Each Party to Bear Its Own Attorneys' Fees, Costs and Expenses
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                 Except as expressly provided for herein, each Party shall bear its own attorneys' fees, costs and
         expenses incurred in relation to the Action and the claims described in the Action and in the preparation
         of this Agreement.

         17.      Multiple Counterparts

                 This Agreement may be executed in counterparts, each of which may be executed and delivered
         via facsimile or PDF electronic delivery with the same validity as if it were an ink-signed document and
         each of which shall be effective and binding on the Parties as of the Effective Date, Each such
         counterpart shall be deemed an original and, when taken together with other signed counterparts, shall
         constitute one and the same Agreement.
        18.       Authority of Signatories

               Each of the signatories to this Agreement represents and warrants that he/she/it is duly and fully
        authorized to act for the Party on whose behalf Jae/she/it signs this Agreement and that any and all
        required consents, authorizations or approvals have been obtained by or on behalf of such Party,

        19,       Construction

               Each Party hereto has participated and cooperated in the drafting and preparation of this
        Agreement. In any construction to be made of this Agreement, the same shall not be construed against
        any Party on the ground that said Party drafted this Agreement.

        20,       Representation/Warranty Regarding Other Potential Plaintiffs or Leal Claims

                Plaintiff and Plaintiffs Counsel each represent and warrant that she/it has not disclosed or
        revealed the existence of the Agreement or the contents thereof to any potential plaintiff or potential
        putative class member other than Plaintiff, or to any attorney generally engaged in representing persons
        with disabilities in individual or class action litigation under the Disability Access Laws. Plaintiff and
        Plaintiff's Counsel each represent and warrant that neither of them have any knowledge of any current
        or prospective clients who presently have claims against the Released Parties based on the accessibility
        of the Web site,

             PLEASE READ CAREFULLY. MB SETTLEMENT AGREEMENT AND RELEASE
        OF CLAMS INCLUDES A RELEASE OF ALL KNOWN AN]) UNKNOWN CLAMS.

                IN WITNESS WHEREOF, the undersigned Parties do-hereby execute this Agreement as of the
        Effective Date,


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           ANTE,111 CAN FIONDAi1101'011 CO,,


              -thpyte24,

           )3y: Thomas Peyton
                AVP- Marketing Operations

           APPROVED AS TO FORM AND ACiR AS APPIXABLE:


          P.ODElltel< V, 1-IANNAII, ESQ,, P, A..
          LAW OFFICE U ThIliAVO DURAN,          1'.A.
           Attorneys for Plnintiff



           By:. Roderick V, Hannah, 115q,



           By Pol.B.90 M. Dut'Au, l3sq,


            A.PPROVII,D AS TO FORI-vi AND ACM1.313,1) AS AP1'311CABLE:


          0 GLrrilto, ILARINS, NASH., SMOA l< Lg:                 P.C.
          .Attorneys     • Vilielican 1101)4 Iylotpl• Co., tuc,



          By: Pau) J. Do Boe, FA,
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                                EXHIBIT "A"
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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO,: 1:17-cv-23267-S COLA/TORRES


       EMILY FULLER,


               Plaintiff,
       v.

       AMERICAN HONDA MOTOR CO, INC,,

               Defendant.


                        JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

               Plaintiff Emily Fuller and Defendant American Honda Motor Co,, Inc., by and through

       their respective counsel of record herein, hereby stipulate, pursuant to Fed. R. Civ, P.

       41(a)(1)(A)(ii), that:

               1.      The parties, having completed a settlement of this matter, agree and request that the

       Court order the DISMISSAL of this action, with prejudice, with the Court to retain jurisdiction

       over the parties and the action for the sole purpose of, and, and for only the time period required

       for, enforcement of the parties' obligations under Section 2(C) of the Parties' Settlement

       Agreement and Release of Claims,

              2.       Attached to this Stipulation as Exhibit "A" is a true and correct copy of the parties'

       Settlement Agreement and Release of Claims.

              3.      Each party shall bear his or its own costs and fees, including attorneys' fees,

       incurred with this action.

              4.      The effectiveness of this stipulation is conditioned on the Court's entry of an order
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       retaining jurisdiction, See Anago Franchising, Inc. v. Shaz, LLC, 677 F,3d 1272 (11th Cir. 2012).



       Respectfully submitted,

        Roderick v, Hannah, Esq,, P.A.               OGLETREE, DEAKINS, NASH, SMOAK
        8751 W. Broward Blvd., Ste. 303              & STEWART, P,C,
        Plantation, FL 33324                         701 Brickell Avenue, Suite 1600
        Telephone: 954.362.3800                      Miami, FL 33131
        Facsimile: 954.362.3779                      Telephone: 305,374,0506
                                                     Facsimile: 305.374.0456
        s/ Roderick Hannah
        Roderick V, Hannah, Esq,                     s/ Paul De Boe
        Florida Bar No, 435384                       Paul J. De Boe, Esq,
        rhatmah@rhannahlaw.com                       Florida Bar No. 52051
                                                     paul,deboe@ogletreedeakins,com

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        4640 N.W. 7th Street
        Miami, FL 33126-2309
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        s/ Pelayo Duran
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        Florida Bar No. 0146595
        pduran@pelayoduran.corn
